 Case 3:15-cv-00666-M Document 266 Filed 12/17/18          Page 1 of 31 PageID 9510


                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NIC SALOMON,                                           §
                                                       §
      Plaintiff,                                       §
                                                       §
v.                                                     §    CIVIL ACTION NO.
                                                       §    3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                        §
LLC, OUTDOOR CHANNEL HOLDINGS,                         §
INC., and PACIFIC NORTHERN CAPITAL LLC,                §
                                                       §
      Defendants.                                      §

     DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND
 OUTDOOR CHANNEL HOLDINGS, INC.’S REPLY BRIEF IN SUPPORT OF THEIR
               MOTION FOR SUMMARY JUDGMENT


TO THE HONORABLE BARBARA M. G. LYNN, UNITED STATES DISTRICT COURT
CHIEF JUDGE

By:

Paul C. Watler                               Kevin D. Evans
State Bar No. 00784334                       Admitted pro hac vice
Shannon Zmud Teicher                         Nicholas W. Dowd
State Bar No. 24047169                       Admitted pro hac vice
J ACKSON WALKER L.L.P.                       ARMSTRONG TEASDALE LLP
2323 Ross Avenue, Suite 600                  4643 South Ulster Street, Suite 800
Dallas, Texas 75201                          Denver, CO 80237
Telephone: 214.953.6000                      Telephone: 720.200.0676
Facsimile: 214.953.5822                      Facsimile: 720.200.0679
Email: pwatler@jw.com                        Email: kdevans@armstrongteasdale.com
        steicher@jw.com                             ndowd@armstrongteasdale.com


Attorneys for Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.

                                                                   December 17, 2018




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment
     Case 3:15-cv-00666-M Document 266 Filed 12/17/18                                           Page 2 of 31 PageID 9511


                                                 TABLE OF CONTENTS

I.       INTRODUCTION ...............................................................................................................1

II.      ARGUMENT .......................................................................................................................3

         A.        Plaintiff’s Breach Of Contract Theory Is Refuted By Texas And Fifth
                   Circuit Law ..............................................................................................................3

         B.        Outdoor Did Not Violate The Exclusivity Section And Is Entitled To
                   Summary Judgment On Plaintiff’s Breach Of Contract Claim ...............................7

                   1.         The Exclusivity Section Did Not Prevent Outdoor From
                              Negotiating A Sale Of Its Own Stock With KSE ........................................7

                   2.         The Term Sheet Did Not Prevent Outdoor From Selling Or
                              Transferring Its Own Stock Or Require It To “Carve Out” The
                              Aerial Camera Business From Its Transaction With KSE .........................12

                   3.         Outdoor Never Negotiated With Anyone Except Plaintiff And
                              PNC In Relation To An Acquisition Of The Aerial Camera
                              Business .....................................................................................................14

                   4.         Outdoor Was Not Prohibited From Disclosing Plaintiff’s Identity
                              To KSE.......................................................................................................15

                   5.         Outdoor Did Not Grant KSE A “Veto” Right ...........................................16

                   6.         Plaintiff Fails To Demonstrate That He Suffered Damages,
                              Providing An Additional Ground On Which To Grant Summary
                              Judgment To Defendants ...........................................................................17

         C.        Plaintiff Fails To Present Evidence Establishing A Triable Issue Of Fact
                   As To His Tortious Interference Claim Against KSE ...........................................19

         D.        KSE Engaged In No Tortious Conduct Sufficient To Sustain Plaintiff’s
                   Tortious Interference With Prospective Business Relations Claim .......................21

         E.        Plaintiff Fails To Come Forward With Evidence Establishing That
                   Defendants Knowingly Participated In A Breach Of Fiduciary Duty ...................22

         F.        Plaintiff Fails To Show That Defendants Were “Unjustly Enriched”
                   Through Fraud, Duress, Or The Taking Of An Undue Advantage .......................23

         G.        Plaintiff Lacks Sufficient Evidence To Sustain His Civil Conspiracy
                   Claim ......................................................................................................................24

III.     CONCLUSION ..................................................................................................................25


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                                                              i
  Case 3:15-cv-00666-M Document 266 Filed 12/17/18                                                 Page 3 of 31 PageID 9512


                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

ACS Investors, Inc. v. McLaughlin,
  943 S.W.2d 426 (Tex. 1997) ....................................................................................................19

Am. Mfrs. Mut. Ins. Co. v. Schaefer,
   124 S.W.3d 154 (Tex. 2003) ....................................................................................................11

BMC Software Belgium, N.V. v. Marchand,
  83 S.W.3d 789 (Tex. 2002) ........................................................................................................4

Cano v. State Farm Lloyds,
   276 F. Supp. 3d 620 (N.D. Tex. 2017) ....................................................................................25

Capital Parks, Inc. v. S.E. Adver. & Sales Sys., Inc.,
   30 F.3d 627 (5th Cir. 1994) .............................................................................................1, 5, 12

Davis-Lynch, Inc. v. Moreno,
   667 F.3d 539 (5th Cir. 2012) ...................................................................................................24

Docudata Records Mgmt. Servs., Inc. v. Wieser,
   966 S.W.2d 192 (Tex. App.—Houston [1st Dist.] 1998, pet. denied) ...................................2, 5

Engel v. Teleprompter Corp.,
   703 F.2d 127 (5th Cir. 1983) .....................................................................................................5

Evergreen Nat’l Indem. Co. v. Tan It All, Inc.,
   111 S.W.3d 669 (Tex. App.—Austin 2003, no pet.) ...............................................................11

Hunn v. Dan Wilson Homes, Inc.,
   Civil Action No. 5:12-CV-081-C, 2013 WL 12128677 (N.D. Tex. Sept. 23,
   2013) ........................................................................................................................................25

Illinois Tool Works, Inc. v. Harris,
     194 S.W.3d 529 (Tex. App. 2006) .....................................................................................11, 13

United States ex rel. Johnson v. Kaner Med. Grp., P.A.,
   No. 4:12-cv-757-A, 2015 WL 631654 (N.D. Tex. Feb. 12, 2015) ............................................1

Kern v. Taser Int’l, Inc.,
   Civil Action No. 4:07-CV-320-Y, 2008 WL 11429558 (N.D. Tex. Nov. 5,
   2008) ........................................................................................................................................23

Koch Indus., Inc. v. Sun Co., Inc.,
   918 F.2d 1203 (5th Cir. 1990) .................................................................................................17
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                                                               ii
  Case 3:15-cv-00666-M Document 266 Filed 12/17/18                                              Page 4 of 31 PageID 9513


New York Life Ins. Co. v. Miller,
   114 S.W.3d 114 (Tex. App.—Austin 2003, no pet.) ...............................................................19

Osborn v. Bell Helicopter Textron, Inc.,
   828 F. Supp. 446 (N.D. Tex. 1993) .........................................................................................20

Sitaram v. Aetna U.S. Healthcare of North Texas, Inc.,
    152 S.W.3d 817 (Tex. App.—Texarkana 2004, no pet.) ...........................................................4

Tenneco, Inc. v. Ent. Prods. Co.,
   925 S.W.2d 640 (Tex. 1996) ............................................................................................ passim

Topalian v. Ehrman,
   954 F.2d 1125 (5th Cir. 1992) .............................................................................................2, 22

Rules

FED. R. EVID. 702 ...........................................................................................................................18




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                                                          iii
    Case 3:15-cv-00666-M Document 266 Filed 12/17/18              Page 5 of 31 PageID 9514


                                   I.      INTRODUCTION

        Despite the volume of briefing and evidence in the record,1 this is a simple contracts

case. Plaintiff entered into a non-binding (with the exception of a 45-day exclusive negotiation

provision that expired on April 15, 2013) Term Sheet with Defendant Outdoor Channel

Holdings, Inc. (“Outdoor”) to potentially purchase two of Outdoor’s wholly owned subsidiaries,

SkyCam LLC and CableCam LLC (together, the “Aerial Camera Business”). That deal never

came to fruition. In addition, the stock of Outdoor as a whole was acquired on May 17, 2013 by

a subsidiary of Defendant Kroenke Sports and Entertainment, LLC (“KSE,” together with

Outdoor, “Defendants”). Plaintiff alleges that as a result of the acquisition of all Outdoor stock

and the merger of Outdoor into the KSE subsidiary: (1) Outdoor breached an obligation under

the Term Sheet to negotiate exclusively with him (and his then-partner Pacific Northern Capital,

LLC (“PNC”)) for the sale of the Aerial Camera Business; and (2) as a result of or related to that

breach, Defendants committed several torts.

        But the undisputed evidence and unavoidable law show that all of Plaintiff’s claims fail

for a simple reason: Outdoor (a publicly traded company) was entirely within its rights—under

the Term Sheet and otherwise—to contract with KSE in connection with the sale of stock and

merger of the parent company, and Defendants’ conduct was entirely proper. Texas law is plain

that the acquisition of a parent company such as Outdoor does not constitute a sale of the

parent’s assets, such as wholly owned subsidiaries like the Aerial Camera Business. See Capital

Parks, Inc. v. S.E. Adver. & Sales Sys., Inc., 30 F.3d 627, 628–29 (5th Cir. 1994) (explaining that

acquisition of parent is transfer of control, not ownership, of subsidiary); see also Tenneco, Inc.


1See, e.g., United States ex rel. Johnson v. Kaner Med. Grp., P.A., No. 4:12-cv-757-A, 2015 WL
631654, at *5 (N.D. Tex. Feb. 12, 2015) (“The large volume of summary judgment evidence
adduced by plaintiff does not change the fact that there is no summary judgment evidence that
would support a finding that defendants [are liable to plaintiff].”).
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                1
    Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 6 of 31 PageID 9515


v. Ent. Prods. Co., 925 S.W.2d 640, 645 (Tex. 1996) (citations omitted) (“The purchaser of stock

in a corporation does not purchase any portion of the corporation’s assets[.]”); Docudata Records

Mgmt. Servs., Inc. v. Wieser, 966 S.W.2d 192, 197 (Tex. App.—Houston [1st Dist.] 1998, pet.

denied) (“A purchase of stock in a corporation does not constitute a purchase of the corporate

assets. . . . Similarly, a sale of all the stock in a corporation does not constitute a sale of the

[corporate] assets.”). In short, this case and Plaintiff’s theory was baseless from the start.

        Likewise, Plaintiff’s attempts to conjure material fact issues where none exist, either by

making factual assertions that lack evidentiary support or by highlighting immaterial facts, fall

flat. To provide one notable example, Plaintiff insists repeatedly that KSE played a part in the

execution of a March 21, 2013 letter signed by Outdoor and PNC purporting to extend the Term

Sheet’s exclusivity period (the “March 21 Letter”), which Plaintiff claims would have given KSE

the right to “veto” an agreement between Outdoor and Plaintiff for the sale of the Aerial Camera

Business.2 (See ECF #263, Plaintiff’s Response In Opposition To Defendants’ Motion For

Summary Judgment (“Response”) at 39, 44). This assertion, which forms the basis of Plaintiff’s

tortious interference claims against KSE, has been refuted by hard evidence. (See ECF #244,

Brief In Support Of Defendants’ Motion For Summary Judgment (“Brief”) at 12–13 (showing

KSE had no involvement in March 21 Letter). Yet Plaintiff, citing no evidence, still clings to it

as dispositive. It is not—the Fifth Circuit requires more than a party’s baseless assertions to

create a triable issue of fact. See Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992).

        At bottom, this suit is the result of Plaintiff’s disappointment at his inability to acquire the

Aerial Camera Business. But Plaintiff’s missed opportunities are not actionable. The undisputed



2 Plaintiff refers to the March 21 Letter in his Response as the “March 21, 2013 Amendment.”
However, both Plaintiff and Defendants agree that because Plaintiff did not sign the document, it
lacked any legal effect and did not amend the Term Sheet.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                     2
 Case 3:15-cv-00666-M Document 266 Filed 12/17/18                        Page 7 of 31 PageID 9516


evidence shows that, at all times, Defendants acted lawfully and within their contractual rights.

On that basis, and for the reasons set out in their Motion For Summary Judgment (ECF #243)

and accompanying Brief, Defendants ask the Court to grant summary judgment and dismiss

Plaintiff’s claims in their entirety. It is time for this case to end.

                                         II.      ARGUMENT

A.      PLAINTIFF’S BREACH OF CONTRACT THEORY IS REFUTED BY TEXAS AND FIFTH
        CIRCUIT LAW

        Plaintiff’s case is founded upon alleged breaches by Outdoor of the February 27, 2013

Term Sheet’s Exclusivity provisions.           But the provisions’ plain language clarify that the

Exclusivity section prevented Outdoor only from engaging in activities during a 45-day period

involving or relating to a third party’s effort to acquire the Aerial Camera Business. More

specifically, the Exclusivity section precluded Outdoor during the limited exclusivity period

from selling or agreeing to sell “any equity or debt interest (including any new issue of debt or

equity) in any part of the [Aerial Camera Business] to any other party than Purchaser [i.e.,

Plaintiff and PNC] or its nominee.”            (See Exhibit In Support Of Defendants’ Motion For

Summary Judgment (“Def’s Ex.”) A-2, App. 034). It also prohibited Outdoor during that period

from engaging or continuing in discussions, negotiations, or correspondence relating to such a

sale of the Aerial Camera Business to a third party. (Id.) Thus, to establish a breach of the

Exclusivity section Plaintiff must provide evidence that Outdoor sold the Aerial Camera

Business to someone else or discussed such a sale with someone other than Plaintiff during the

exclusivity period. Plaintiff points to no such evidence in his Response because none exists.

        In fact, Outdoor fully complied with the Exclusivity provisions of the Term Sheet.

Outdoor never sold the Aerial Camera Business to anyone; the Aerial Camera Business remained

a wholly-owned subsidiary of Outdoor throughout the exclusivity period and long after. (Brief at


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               3
    Case 3:15-cv-00666-M Document 266 Filed 12/17/18               Page 8 of 31 PageID 9517


15–16). Outdoor also never negotiated or discussed a potential sale of the Aerial Camera

Business with anyone other than Plaintiff and PNC during the exclusivity period. (Id. at 23). 3

        As a result, Plaintiff attempts to argue that KSE’s acquisition of Outdoor, the Aerial

Camera Business’ parent company, should be deemed an acquisition of the Aerial Camera

Business in violation of the Exclusivity section. (Response at 29–32). Plaintiff further contends

that Outdoor’s discussions and negotiations with KSE regarding that transaction also represent

violations of the Term Sheet’s Exclusivity provisions. (Response at 25–29). This position,

however, cannot be reconciled with Fifth Circuit and Texas law.

        Plaintiff tries to avoid the fatal flaw in his legal theory first by accusing Defendants of

“elevat[ing] form over substance” and “play[ing] a corporate shell game.” (Response at 25).

Such bold assertions are flatly rejected by Texas law, which—of course—“recognize[s] the

separate identities of corporations even when one corporation dominates or controls another.”

Sitaram v. Aetna U.S. Healthcare of North Texas, Inc., 152 S.W.3d 817, 825 (Tex. App.—

Texarkana 2004, no pet.) (citing Pulaski Bank and Trust Co. v. Texas American Bank/Fort

Worth, N.A., 759 S.W.2d 723, 731 (Tex. App.—Dallas 1988, writ denied); see also BMC

Software Belgium, N.V. v. Marchand, 83 S.W.3d 789, 798 (Tex. 2002).




3  Relatedly, Plaintiff’s argument that Outdoor was not permitted under the Term Sheet to
terminate negotiations with Plaintiff and PNC at any time and for any reason is wrong. (See
Response at 24). Plaintiff also falsely tells the Court that Defendants have argued that because
Outdoor was free to terminate negotiations under the Term Sheet, it was “therefore not bound by
the Exclusivity Provision.” (Id.) Defendants have made no such argument. Indeed, the
undisputed evidence is that Outdoor remained willing to negotiate with Plaintiff and PNC even
after the expiration of the exclusivity period. (See Brief at 9, 32). Furthermore, “except as
expressly set forth above” language in the Term Sheet’s Non-Binding section that Plaintiff
emphasizes does nothing to advance or support his position. (Response at 24). He points to no
language “set forth above” in the Term Sheet that would impose on Outdoor an obligation to
reach an agreement with Plaintiff and PNC. (Id.)
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                 4
 Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 9 of 31 PageID 9518


       Moreover, Plaintiff fails to show how his claims can survive in light of the decisions in

Capital Parks, Inc. v. Southeastern Advertising and Sales System, Inc., 30 F.3d 627 (5th Cir.

1994), Engel v. Teleprompter Corp., 703 F.2d 127 (5th Cir. 1983), Tenneco Inc. v. Enterprise

Products Co., 925 S.W.2d 640 (Tex. 1996), and Docudata Records Management Services, Inc. v.

Weiser, 966 S.W.2d 192 (Tex. App.—Houston [1st Dist.] 1998, pet. denied). These cases each

stand for the proposition that under Texas law, the sale or transfer of stock in a corporation will

not be treated as the sale or transfer of ownership in assets, including wholly-owned subsidiaries,

held by that corporation. See, e.g., Capital Parks, 30 F.3d at 629 (holding that third party’s offer

to acquire the defendant corporation was not an offer to acquire the defendant’s wholly-owned

subsidiary). Accordingly, under Capital Parks et al., an acquisition of Outdoor stock is not an

acquisition of Outdoor’s assets or subsidiaries, including the Aerial Camera Business. These

cases are not distinguishable from the present case in any meaningful way and Plaintiff’s

halfhearted effort to prove otherwise is incorrect and unconvincing.

       To the extent Plaintiff addresses these cases, his primary argument seems to be that the

Term Sheet’s Exclusivity section is somehow broader than the relevant contractual language in

cases such as Capital Parks and Tenneco. He claims that the contractual rights in those cases

“required a sale of all assets to be triggered.” (Response at 26). This is demonstrably incorrect.

       Defendants described the facts and holding of Capital Parks (as well as the similar

Docudata case) in their opening Brief. (Brief at 1, 19). As explained, the defendant in Capital

Parks granted the plaintiff a right of first refusal as to its wholly-owned subsidiary, Waco.

Specifically, the plaintiff and defendant agreed that the plaintiff would have a right of first

refusal “with respect to the purchase of all the issued and outstanding capital stock or

substantially all of the operating assets of [Waco].” Capital Parks, 30 F.3d at 628. Plaintiff



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                    5
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                    Page 10 of 31 PageID 9519


provides no argument as to how this broad contract language prohibiting the transfer of the

subsidiary’s stock or assets is meaningfully distinguishable from the language of the Exclusivity

provisions of the Term Sheet.

       The relevant contract language in Tenneco was even broader. Tenneco involved a natural

gas liquids fractionation plant that was jointly owned and operated by several different petroleum

companies. 925 S.W.2d at 641–42. The plant was governed by an operating agreement, under

which each of the plant’s owners agreed to make its ownership share of the plant available to the

other co-owners before selling to a non-owner.           Id. at 642.    Specifically, the operating

agreement’s preferential right to purchase clause was triggered when “any Owner should desire

to sell, transfer or assign all or any part of its Ownership Interest” in the plant. Tenneco, 925

S.W.2d at 644 (emphasis added). Thus, any type of disposition of the asset, in whole or in part,

would trigger the preferential right to purchase clause. Plaintiff cannot reasonably claim that the

language of the Exclusivity provisions is broader.

       Despite the breadth of the preferential right to purchase clause, the Tenneco court

concluded that it was not implicated when the stock of a holder of an ownership interest was sold

to a third party, particularly since the holder of the ownership interest continued to hold the

ownership interest in the plant after the stock sale (just as Outdoor continued as the parent of the

Aerial Camera Business after its stock was acquired by the KSE subsidiary) As the Texas

Supreme Court noted, “the purchaser of stock in a corporation does not purchase any portion of

the corporation’s assets.” Id. at 645 (quoting McClory v. Schneider, 51 S.W.2d 738, 748 (Tex.

App.—Amarillo 1932, writ dismissed) (quotation marks omitted)). Thus, “[t]he transaction was

not . . . a transfer of . . . ownership interest” in the plant, the stock transfer did not violate the

operating agreement, and the defendants were entitled to summary judgment. Id. at 645–47.



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                   6
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 11 of 31 PageID 9520


       The circumstances in this case are no different and the Court should reach the same

conclusion as the Texas Supreme Court did in Tenneco. Just as the holder of the ownership

interest in the plant in Tenneco retained that interest even after the sale of its stock, so too did

Outdoor retain ownership of the Aerial Camera Business even after the May 17, 2013 transaction

with KSE. (Brief at 15–16). And just as the Tenneco court decided that the operating agreement

in that case had not been violated, so too should this Court conclude that the KSE-Outdoor

transaction did not violate the Exclusivity section, however broadly Plaintiff would construe it.

B.     OUTDOOR DID NOT VIOLATE THE EXCLUSIVITY SECTION AND IS ENTITLED TO
       SUMMARY JUDGMENT ON PLAINTIFF’S BREACH OF CONTRACT CLAIM

       Based on the foregoing, it is clear that Plaintiff cannot sustain any of his alleged breach

of contract claims against Outdoor, each of which are based on KSE’s acquisition of Outdoor

stock and the discussions between Outdoor and KSE relating to that transaction. (See Response

at 22–24). Nevertheless, Plaintiff insists that his claims should survive summary judgment,

based mostly on his strained interpretation of the Term Sheet’s Exclusivity provisions.

Defendants demonstrated the absurdity of Plaintiff’s interpretation in their opening Brief and

address Plaintiff’s unconvincing responses to those arguments below.

       1.      The Exclusivity Section Did Not Prevent Outdoor From Negotiating A Sale
               Of Its Own Stock With KSE

       Plaintiff argues that Outdoor violated section A(ii) of the Exclusivity section by

purportedly negotiating or corresponding with KSE in relation to an unsolicited offer to acquire

an equity interest or any part of the Aerial Camera Business. (Response at 25–29). This claim

relies entirely on Outdoor’s and KSE’s negotiations and discussions concerning KSE’s

unsolicited offer to acquire Outdoor. Yet as Defendants have explained, KSE’s acquisition of

Outdoor stock cannot be treated as the acquisition of an equity interest in the Aerial Camera



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                   7
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                    Page 12 of 31 PageID 9521


Business. See supra Section II.A. Thus, Defendants are entitled to summary judgment on

Plaintiff’s claim that Outdoor violated section A(ii) of the Exclusivity section.

       Plaintiff tries to save his breach of contract claims by urging that the Court adopt his

mistakenly expansive reading of the Exclusivity section, based largely on the presence of the

word “indirectly.” He argues that section A(ii) of the Exclusivity section prevented Outdoor

from engaging in negotiations relating to a third party’s offer to “indirectly” acquire the Aerial

Camera Business, and that KSE’s offer to acquire Outdoor qualified as such an offer. (Response

at 26). In addition to the fact that Plaintiff’s argument flies in the face of Fifth Circuit and Texas

law, as explained above, Plaintiff’s reading is incorrect and finds no support in the actual words

of the Term Sheet. As explained in Defendants’ opening Brief, the logical and straightforward

reading of section A of the Exclusivity section is that the adverbs “directly” and “indirectly”

modify only those verbs at the beginning of subsections A(i)–(iii). (Brief at 23–24). Thus, in the

case of section A(ii), Outdoor was not allowed during the 45-day exclusivity period to either

directly or indirectly “negotiate” or “correspond” with third parties regarding offers to acquire

the Aerial Camera Business. In other words, Outdoor could not speak directly to third parties

about an acquisition of the Aerial Camera Business, nor could it do so “indirectly,” such as

through an intermediary like Noble Capital Markets (the investment bank retained by Outdoor to

assist with the potential sale of the Aerial Camera Business) or any other kind of deal broker.

       Plaintiff argues that this interpretation “makes no sense” and begs the question, “direct or

indirect negotiations for what?” (Response at 27). The simple and obvious answer is that the

purpose of “directly or indirectly” is not to clarify what Outdoor was prohibited from negotiating

or corresponding about, but how.        As explained, subsection A(ii) prevented Outdoor from

“directly” negotiating with a third party as to the prohibited subject matter, and also from



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                   8
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                    Page 13 of 31 PageID 9522


“indirectly” negotiating through an intermediary. As to Plaintiff’s question, what was Outdoor

prohibited from directly or indirectly negotiating about? (Response at 27). The answer is

exactly what the Exclusivity section says: Outdoor could not negotiate in relation to “existing or

unsolicited offers to acquire the equity or debt interest or any part of the businesses of Skycam or

Cablecam.” (Def’s Ex. A-2, App. 034). Thus, there is nothing nonsensical about Defendants’

reading of the Exclusivity section’s plain language.4

       Indeed, Defendants’ reading of the contract is further enforced by section B of the

Exclusivity section. That provision contains similar language to section A(ii), and states that

Outdoor would “cease any negotiations, discussions or correspondence which they are having,

whether directly or indirectly, in relation to the potential acquisition of an equity or debt interest

in the [Aerial Camera Business].” (Def’s Ex. A-2, App. 034). Here it is even clearer from the

syntax and structure of the sentence that the words “directly” and “indirectly” were intended to

modify only the verbs in the preceding clause, and not the remainder of the sentence. This

demonstrates that while the parties intended to prohibit “indirect” “negotiations, discussions or

correspondence,” they did not intend to prohibit such activities in relation to “indirect”

acquisitions of the Aerial Camera Business (whatever that would mean).

       Plaintiff goes on to argue that Defendants’ interpretation of the Exclusivity section would

render it meaningless and lead to an absurd result. (Response at 27–28). He claims that under

Defendants’ interpretation, “Outdoor need only use a third party intermediary” to avoid its

obligations under the Exclusivity Section. (Id.) Plaintiff misconstrues Defendants’ position

completely. Defendants expressly acknowledged in their opening Brief, as they do above, that


4 In fact, Plaintiff’s reading would render the otherwise clear language of the Exclusivity
provisions nonsensical and raise a host of questions. In particular, Plaintiff’s interpretation
would “beg the question” of what it would mean to “indirectly acquire” the Aerial Camera
Business.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                   9
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                 Page 14 of 31 PageID 9523


“the Exclusivity section prevented Outdoor from ‘indirectly’ negotiating or discussing an

acquisition of the Aerial Camera Business with a third party, through an intermediary like

Noble.” (Brief at 24). Defendants’ construction thus gives full effect to each word in the

Exclusivity section and without leading to any absurd results.

       Indeed, it is Plaintiff’s interpretation of the Exclusivity section that would result in

absurdity. This is demonstrated by the fact that under Plaintiff’s construction, which would bar

Outdoor from selling its own stock and from engaging in discussions relating to such a sale,

Outdoor was in breach of the Exclusivity section the moment it signed the Term Sheet, given

that Outdoor and InterMedia were then currently engaged in merger discussions. (Brief at 25).

Outdoor would not and did not intend such a result.

       Plaintiff responds to this by claiming that “the InterMedia merger excluded the Aerial

Camera Business.” (Response at 28). This statement remains untrue no matter how many times

Plaintiff repeats it. To support this contention Plaintiff points to the February 2013 Proxy

Statement.   (Id.)   But that document does nothing more than indicate that Outdoor was

“exploring strategic alternatives” for the Aerial Camera Business and notes expressly that that

process was “still ongoing.” (Def’s Ex. A-15, App. 219). Indeed, neither the February 2013

Proxy Statement nor any other document imposed a binding commitment on Outdoor to “carve

out” the Aerial Camera Business from the deal with InterMedia.

       Plaintiff also makes the confusing assertion that Defendants’ argument regarding the

InterMedia merger “is a red herring because there is no allegation in this lawsuit that any aspect

of the InterMedia merger or its subsequent bids do, or do not, constitute a breach of the Term

Sheet.” (Response at 28). That Plaintiff’s claims are not based on the InterMedia merger is

entirely beside the point. As Plaintiff himself acknowledges, courts must construe contracts to



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                              10
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                   Page 15 of 31 PageID 9524


avoid absurd results. (See Response at 27–28).5 Defendants refer to Outdoor’s agreement and

discussions with InterMedia not because they are part of Plaintiff’s claims, or to ask the Court

“to provide an advisory opinion,” but to demonstrate that Plaintiff’s interpretation of the Term

Sheet is absurd and untenable.6

       Finally, Plaintiff asks that if the Court determines not to reject Defendants’ interpretation

of the Term Sheet’s Exclusivity section, then it should conclude that it is ambiguous and presents

a question of fact that should be submitted to the jury. (Response at 29). As Defendants have

demonstrated here and in their opening Brief, the Exclusivity section of the Term Sheet is not

ambiguous. That Plaintiff now claims to have had a different subjective understanding of the

Term Sheet’s meaning is irrelevant. Evergreen Nat’l Indem. Co. v. Tan It All, Inc., 111 S.W.3d

669, 675 (Tex. App.—Austin 2003, no pet.) (holding that a contract’s meaning is based on “the

objective, not subjective, intent” of the parties). Moreover, just because Plaintiff insists that the

Exclusivity section means something other than what the plain language indicates does not create

an ambiguity or issue that must be decided by the jury. Am. Mfrs. Mut. Ins. Co. v. Schaefer, 124

S.W.3d 154, 157 (Tex. 2003) (“An ambiguity does not arise simply because the parties offer

conflicting interpretations.”). Rather, the Court can and should determine the meaning of the

Exclusivity section as a matter of law and conclude that it does not support Plaintiff’s claims.


5 In Illinois Tool Works, the very case cited by Plaintiff to support this point, the defendant
described two absurd hypothetical outcomes that would result from the plaintiff’s interpretation
of the contract at issue in that case. Illinois Tool Works, Inc. v. Harris, 194 S.W.3d 529, 536
(Tex. App. 2006). Notwithstanding the fact that those hypothetical situations were not the basis
for the plaintiff’s claims, the court agreed they were absurd outcomes and therefore rejected the
plaintiff’s reading of the contract. Id. at 537. This case is no different.
6 For the same reasons, Plaintiff’s response to Defendants’ argument regarding the Outdoor
Board’s fiduciary duties is baseless. The point is not whether, as a factual matter, Outdoor
considered fiduciary duties when negotiating the Term Sheet. The point is that it would be
absurd to believe that Outdoor would agree to terms forcing Outdoor’s Board to choose between
fulfilling its duties to Outdoor’s shareholders and complying with the Term Sheet.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                  11
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 16 of 31 PageID 9525


       2.      The Term Sheet Did Not Prevent Outdoor From Selling Or Transferring Its
               Own Stock Or Require It To “Carve Out” The Aerial Camera Business
               From Its Transaction With KSE

       As to Plaintiff’s claim that Outdoor “sold or agreed to sell” the Aerial Camera Business

to KSE and thereby breached the Exclusivity section, this too is refuted by the fact that Outdoor

agreed only to a sale of its own stock, not the Aerial Camera Business. There is no dispute that

Outdoor never sold the Aerial Camera Business to anyone and that the Aerial Camera Business

entities remained wholly-owned subsidiaries of Outdoor, even after the transaction with KSE on

May 17, 2013. The holdings in cases such as Capital Parks and Tenneco therefore conclusively

establish that Outdoor did not violate the Exclusivity section.

       Nevertheless, Plaintiff persists that by failing to “carve out” the Aerial Camera Business

from its deal with KSE, Outdoor violated the Exclusivity section.        (Response at 30).     He

contends that KSE’s acquisition of Outdoor amounted to an “indirect” sale of the Aerial Camera

Business, in violation of section A(iii) of the Exclusivity section. (Id.) Yet this argument finds

no support in the law or the facts of this case.

       First, Plaintiff cannot avoid the holdings in Capital Parks and Tenneco simply by

pointing to the word “indirectly” in the Exclusivity section. Those cases make clear that the sale

of a corporation’s stock shall not in any way be construed as a transfer of ownership, in whole or

in part, of assets held by that corporation. See, e.g., Tenneco, 925 S.W.2d at 645–46. In fact,

Tenneco described the kind of language that would be necessary to effect the kind of restrictions

that Plaintiff would impose here. Id. at 646. If Plaintiff intended to prohibit any change of

control or prevent Outdoor from selling its own stock, Plaintiff could have included such

language in the Term Sheet that he and PNC drafted. But he did not.

       Second, Plaintiff returns again to his insupportable claim that the Aerial Camera Business

was “carved out” of the InterMedia merger deal and that Outdoor was obligated to do the same

Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                              12
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                 Page 17 of 31 PageID 9526


with respect to its transaction with KSE. (Response at 30). Neither assertion is true. The

February 2013 Proxy Statement said only that Outdoor potentially would sell the Aerial Camera

Business, but that the process was “still ongoing.” (Def’s Ex. A-15, App. 219). The Proxy

Statement could not and did not obligate Outdoor to sell the Aerial Camera Business to anyone.

(Id.)   Likewise, Plaintiff points to no language in the Term Sheet imposing a carve out

requirement.7

        Third, to demonstrate how unworkable Plaintiff’s interpretation of the Exclusivity section

is, Defendants offered the hypothetical that under Plaintiff’s view Outdoor would have breached

the contract by issuing or selling any amount of its own stock during the limited exclusivity

period. (Brief at 27–28). Section A(iii) prohibited Outdoor from selling or issuing stock in the

Aerial Camera Business. (Def’s Ex. A-2, App. 034). Under Plaintiff’s reading, this restriction

on stock sales or issuances also applies to Outdoor’s own stock. Plaintiff counters first by

calling this a “straw man” argument (Response at 31), but in doing so disregards his own case

law in which the court considered and accepted hypothetical scenarios to avoid interpreting a

contract in a way that would lead to absurd results. See Illinois Tool Works, 194 S.W.3d at 536–

37. Next, Plaintiff claims that a “de minimis” sale of Outdoor shares would not have breached

the Exclusivity section, but fails to explain what would qualify as “de minimis” or how his

interpretation leaves any room for making such a distinction. (Response at 31). He then

concludes by stating that “the sale of Outdoor to KSE granted control to KSE to determine the

fate of the Aerial Camera Business.” (Id.) It is unclear what Plaintiff’s point is here given that

the Exclusivity section says nothing about “control” or “determin[ing] the fate of the Aerial

Camera Business.” (Def’s Ex. A-2, App. 034). Once again, if Plaintiff intended the Term Sheet


7Plaintiff also fails to explain how, as a practical matter, a publicly traded company such as
Outdoor would go about “carving out” two wholly-owned subsidiaries from a sale of its stock.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                              13
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                   Page 18 of 31 PageID 9527


to cover changes in control, he could have tried to include language to that effect in the Term

Sheet that he drafted. See Tenneco, 925 S.W.2d at 646 (refusing to “rewrite agreements to insert

provisions parties could have included or to imply restrains for which they have not bargained”).

       For all of these reasons, Plaintiff fails to demonstrate that he can present any evidence on

which a jury could conclude that Outdoor sold the Aerial Camera Business to KSE in violation

of the Exclusivity section. Therefore, summary judgment should be granted to Defendants.

       3.      Outdoor Never Negotiated With Anyone Except Plaintiff And PNC In
               Relation To An Acquisition Of The Aerial Camera Business

       Plaintiff’s claim that Outdoor breached section B of the Exclusivity section by “failing to

cease negotiations or discussions with KSE” is substantially the same as his claim that Outdoor

violated section A(ii) and fails for the same reasons. (Response at 32). Section B required

Outdoor during the 45-day exclusivity period to “cease any negotiations, discussions or

correspondence which they are having, whether directly or indirectly, in relation to the potential

acquisition of an equity or debt interest in the [Aerial Camera Business] by any other party

than [Plaintiff and PNC].” (Def’s Ex. A-2, App. 034). The meaning of this provision is clear:

Outdoor was required to discontinue any negotiations it may have been having regarding a

potential acquisition of the Aerial Camera Business by anyone other than Plaintiff and PNC. As

discussed above, KSE’s acquisition of Outdoor stock was not an acquisition of the Aerial

Camera Business, and therefore Outdoor’s and KSE’s discussions and negotiations related to that

transaction were not “negotiations, discussions or correspondence . . . in relation to the potential

acquisition of an equity or debt interest in the [Aerial Camera Business].” See supra Section

II.A. Thus, Plaintiff cannot sustain this alleged breach of section B of the Exclusivity section.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                   14
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                 Page 19 of 31 PageID 9528


       4.      Outdoor Was Not Prohibited From Disclosing Plaintiff’s Identity To KSE

       Plaintiff contends that Outdoor violated the Exclusivity section by disclosing his identity

and the existence of the Term Sheet to KSE during the course of negotiations concerning KSE’s

acquisition of Outdoor. Plaintiff falsely claims that Defendants failed to “make any argument

addressing these breaches.” (Response at 33). To the contrary, Defendants showed in their Brief

that Plaintiff’s breach of contract claim is based on the same flawed reading of the Term Sheet as

his other breach of contract claims—a reading that the language of the Exclusivity section and

the law do not support. (Brief at 29–30).

       Plaintiff’s claim that Outdoor was prohibited from disclosing Plaintiff’s identity, or any

other information about Outdoor’s negotiations with him regarding the Aerial Camera Business,

is based on sections A(ii) and B of the Exclusivity section. (See Response at 33). But as

previously explained, the meaning that Plaintiff ascribes to those provisions is far too broad.

Section A(ii) describes how Outdoor was to conduct “negotiat[ions] or correspond[ence] with

third parties in relation to existing or unsolicited officers to acquire . . . [the Aerial Camera

Business].” (Def’s Ex. A-2, App. 034). Outdoor and KSE never engaged in such negotiations

relating to an acquisition of the Aerial Camera Business and thus this section’s prohibition on

disclosure of Plaintiff’s identity is inapplicable.8 Likewise, section B by its terms required

Outdoor only to cease negotiations relating to a potential acquisition of the Aerial Camera

Business with “any other party than [Plaintiff and PNC]” and required Outdoor to advise “any

such parties” that it was engaged in discussions with another party without disclosing Plaintiff’s


8 Indeed, when a third party did approach Outdoor during the exclusivity period about acquiring
the Aerial Camera Business, Outdoor complied with the Exclusivity section to the letter. On the
same day that the Term Sheet was signed another interested buyer urged Outdoor to consider
their offer to acquire Skycam, to which Outdoor responded that it had “entered into an
exclusivity arrangement with another party” and that Outdoor was “not able to discuss anything
further.”
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                              15
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 20 of 31 PageID 9529


and PNC’s identity. (Def’s Ex. A-2, App. 034). KSE never expressed any interest in acquiring

the Aerial Camera Business, and therefore was not “any such party.” Accordingly, this alleged

breach of the Exclusivity section also lacks any merit and summary judgment should be granted.

       5.      Outdoor Did Not Grant KSE A “Veto” Right

       Lastly, Plaintiff argues that Outdoor violated the Exclusivity section by granting KSE the

right to “veto” a sale of the Aerial Camera Business to Plaintiff and PNC. This argument fails

for several reasons. First, Plaintiff’s argument for how these alleged activities relating to the

March 21 Letter serve as violations of the Exclusivity section is tenuous at best. Plaintiff offers

the vague contention that Outdoor’s participation in the March 21 Letter violated “the spirit of

the Exclusivity Provision.” (Response at 34). He does not clarify what he means by “the spirit”

of the Exclusivity section and cites only to his own declaration to support this statement. (See

id.). Plaintiff then asserts that Outdoor’s act of “inducing” PNC to sign the March 21 Letter

“encouraged” KSE to acquire the Aerial Camera Business in violation of section A(i) of the

Exclusivity section.   (Id.)   Plaintiff makes no effort to explain how the March 21 Letter

“encouraged” KSE to do anything of relevance once KSE learned of the Letter’s existence.

       Second, as Defendants explained in their Brief, KSE never exercised any “veto” rights

that it purportedly was granted by the March 21 Letter. (Brief at 30–31). Indeed, KSE was

never presented with an agreement for the sale of the Aerial Camera Business to Plaintiff that it

could “veto.” (Id. at 4). Moreover, the undisputed evidence is that KSE would have consented

to such a sale if Outdoor and Plaintiff had reached an agreement. (Id. at 14). Thus, Plaintiff’s

claim that KSE’s “failure to consent . . . infected the entire negotiation process” is baseless.

(Response at 34).

       Finally, Plaintiff and Defendants both agree that the March 21 Letter was without any

legal effect absent Plaintiff’s signature. (See Brief at 11–12). But conspicuously absent from

Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               16
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 21 of 31 PageID 9530


Plaintiff’s argument is any explanation of how a dead letter document, purportedly granting

“veto” rights to KSE that never were exercised, can give rise to legal liability for Outdoor under

the Exclusivity section. Plaintiff claims, without reference to any legal authority or provision of

the Term Sheet, that it was the “mere consent to giving KSE a right under the Term Sheet that

did not exist prior thereto that violated the Exclusivity Provision.” (Response at 34). The Court

should reject Plaintiff’s attempt to once again invent restrictions on Outdoor that have no basis in

the actual language of the Term Sheet.

       6.      Plaintiff Fails To Demonstrate That He Suffered Damages, Providing An
               Additional Ground On Which To Grant Summary Judgment To Defendants

       Defendants demonstrated in their Motion For Summary Judgment that even if Plaintiff

were able to show that Outdoor breached the Exclusivity section—and he cannot—summary

judgment still would be appropriate because Plaintiff cannot demonstrate that he suffered

damages as a result of the alleged contract violations. (Brief at 31–33). Damages for breach of

contract are intended to place the injured party in the same position it would have been had the

defaulting party performed the contract. See Koch Indus., Inc. v. Sun Co., Inc., 918 F.2d 1203,

1214 (5th Cir. 1990). Here, the Term Sheet was not a contract for the sale of the Aerial Camera

Business to Plaintiff—it merely gave Plaintiff the opportunity to negotiate exclusively for a

limited time with Outdoor regarding such a sale. Plaintiff’s rights under the Term Sheet are

similar to those of an option-holder; thus, to recover the damages that he claims, he must show

that he and PNC were ready, willing, and able to reach an agreement with Outdoor and see the

agreement through to closing. See id. at 1214 (“option holders who cannot prove that they had

the financial ability to pay for the subject property at the time of the owner’s breach” cannot

recover damages).




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                17
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 22 of 31 PageID 9531


       There is no evidence that Outdoor and Plaintiff would have reached an agreement on a

sale of the Aerial Camera Business. To the contrary, the uncontroverted evidence shows that

Plaintiff and PNC never reached an agreement between themselves on how the deal would be

financed, let alone agree with Outdoor on the terms of such an acquisition. (Brief at 32). A PNC

representative provided undisputed testimony that at the end of the day, PNC was not willing to

fund the entire purchase price of the Aerial Camera Business and that Plaintiff and PNC had not

been able to find additional investors. (See id.).

       Plaintiff’s claim that Outdoor and KSE are to blame for Plaintiff’s and PNC’s failure to

reach an agreement between themselves as to financing, or with Outdoor on the terms of a final

asset purchase agreement, is false. Plaintiff points repeatedly to an email from Tom Hornish to

PNC describing KSE as a “gating item” and that if KSE provided consent to an agreement then

Outdoor would try to close on the deal as soon as possible. (Response at 37). But while Plaintiff

would hold KSE responsible for his failure to reach an agreement with Outdoor, he fails to

explain how KSE could consent to an agreement that it was never presented with. Plaintiff’s

argument that Outdoor permitted KSE to “hijack” negotiations belies all the evidence showing

that KSE refused to insert itself into the negotiations between Plaintiff and Outdoor. (Brief at

14). Plaintiff could have presented Outdoor with a final asset purchase agreement to which KSE

could provide consent. There is no evidence that KSE did anything to prevent Plaintiff from

doing so and the evidence demonstrates that Outdoor remained willing to negotiate with

Plaintiff. (See Brief at 9, 32). That Plaintiff now wishes he had proceeded in this way does not

give rise to damages or a viable cause of action.

       Further, as explained in Defendants’ motion under Federal Rule Of Evidence 702 to

exclude the testimony of Plaintiff’s expert witness, Plaintiff’s claim that compensation he lost as



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               18
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                 Page 23 of 31 PageID 9532


a consequence of being terminated from his position for poor performance nearly a year after

KSE’s acquisition of Outdoor is entirely speculative. (See ECF #247 at 4–9). Plaintiff cannot

demonstrate that such damages were the foreseeable result of any purported breach of the

Exclusivity section by Outdoor. (Id. at 8–9).

       Plaintiff’s failure to demonstrate a cognizable injury resulting from the Exclusivity

section violations he alleges against Outdoor thus provides an alternative ground on which to

grant summary judgment to Defendants on Plaintiff’s breach of contract claim.

C.     PLAINTIFF FAILS TO PRESENT EVIDENCE ESTABLISHING A TRIABLE ISSUE OF FACT
       AS TO HIS TORTIOUS INTERFERENCE CLAIM AGAINST KSE

       Defendants are entitled to summary judgment on Plaintiff’s tortious interference claim

for the simple reason that he cannot demonstrate that Outdoor violated the Exclusivity section of

the Term Sheet. Texas courts have held repeatedly that “inducing a contract obligor to do what it

has a right to do is not actionable interference.” ACS Investors, Inc. v. McLaughlin, 943 S.W.2d

426, 430 (Tex. 1997); New York Life Ins. Co. v. Miller, 114 S.W.3d 114, 125 (Tex. App.—

Austin 2003, no pet.). So even if Plaintiff had evidence showing that KSE “induced” Outdoor to

do anything, his tortious interference claim still would fail absent a showing that KSE induced

Outdoor to do something prohibited under the Exclusivity section of the Term Sheet. Because

Plaintiff cannot show that Outdoor did anything that it did not have “a right to do,” his tortious

interference claim must be rejected.    See New York Life, 114 S.W.3d at 125–26 (granting

judgment to defendant on tortious interference claim upon finding that plaintiff’s contract was

not breached).

       Further, Plaintiff simply fails to provide evidence beyond his own bare assertions that

KSE “interfered” with the Exclusivity section of the Term Sheet and caused Outdoor to violate

its obligations under that agreement. Plaintiff accuses KSE of “[holding] up the sale process,”


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                              19
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 24 of 31 PageID 9533


pointing again to the email from Tom Hornish to Jeff Holowaty in which he refers to KSE as the

“the real gating item.” (Response at 39). That email does nothing more than show that Outdoor

and PNC were continuing to work towards an asset purchase agreement but with the

understanding that KSE would need to approve the finalized deal. (Plaintiff’s Ex. 45, App.

0183). As discussed, Plaintiff and PNC failed to reach an agreement with Outdoor on the terms

of a sale, even though Outdoor remained willing to negotiate with Plaintiff and PNC (Brief at 9,

32), and therefore KSE never was given the opportunity to provide or withhold consent. In any

case, Plaintiff again fails to explain how KSE prevented Plaintiff and PNC from negotiating with

Outdoor or presenting final terms for an asset purchase agreement.

       Plaintiff’s so-called “evidence” that KSE was involved in the March 21 Letter is even

more dubious. He does not present a single email or document that shows KSE had any

knowledge of the March 21 Letter before its execution. (See Response at 39–41). Moreover,

Defendants have presented evidence in the form of deposition testimony from both KSE and

Outdoor personnel, who explained that KSE did not play any role in the preparation or execution

of the March 21 Letter. (Brief at 12–13). In response, Plaintiff asks the Court to just assume that

KSE was involved based only on an email between Outdoor and PNC that does not indicate that

KSE was aware of the March 21 Letter. (Response at 39). To this Plaintiff adds only his bare,

conclusory assertion that “[t]he fact that the [March 21 Letter] was even drafted is proof that

KSE tortuously interfered with the contract at issue.” (Id. at 41). Plaintiff’s Response falls far

short of what is required to avoid summary judgment. See Osborn v. Bell Helicopter Textron,

Inc., 828 F. Supp. 446, 448 (N.D. Tex. 1993) (holding that a party responding to a motion for

summary judgment “must produce evidence, not merely argument, in response to a movant’s




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               20
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                   Page 25 of 31 PageID 9534


properly supported motion” and that “a mere scintilla of evidence is not sufficient to avoid

summary judgment”).

D.     KSE ENGAGED IN NO TORTIOUS CONDUCT SUFFICIENT TO SUSTAIN PLAINTIFF’S
       TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS RELATIONS CLAIM

       Defendants are entitled to summary judgment on Plaintiff’s tortious interference with

prospective business relations claim because Plaintiff fails to demonstrate that KSE engaged in

any actionable act of interference. As Plaintiff acknowledges, this cause of action requires proof

that KSE engaged in independently tortious conduct that prevented such an agreement from

being reached. (Response at 44 (citing Wal-Mart Stores, Inc. v. Sturges, 52 S.W.3d 711 (Tex.

2001)). But Plaintiff fails to provide proof of any such tortious conduct.

       Plaintiff points to KSE’s alleged interference with an existing contract (i.e., the

Exclusivity section of the Term Sheet) and alleged “aiding a breach of a fiduciary duty” as

independently tortious acts on which his tortious interference with prospective business relations

claim may be sustained. (Response at 44). Yet as Defendants demonstrated in their Brief and in

this Reply, both claims lack merit. With Plaintiff unable to point to any tortious conduct by

KSE, his tortious interference with prospective business relations claim necessarily fails as well.

       Indeed, Plaintiff’s tortious interference with prospective business relations claim is

merely another attempt to hold KSE liable for its purported involvement in a document that KSE

was not even aware existed until after its execution.         Just like Plaintiff’s other tortious

interference claim and his “aiding a breach of fiduciary duty” claim, this cause of action is based

on the March 21 Letter, which he describes as the “culminat[ion]” of KSE’s purported effort to

“subvert[ ] the planned sale of the Aerial Camera Business.”           (Response at 44).     But as

previously discussed, Defendants have demonstrated with voluminous, uncontroverted evidence




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                21
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                   Page 26 of 31 PageID 9535


that KSE had no involvement in the preparation of that document. Accordingly, there is no

genuine dispute of fact as to this cause of action and summary judgment should be granted.

E.       PLAINTIFF FAILS TO COME FORWARD WITH EVIDENCE ESTABLISHING THAT
         DEFENDANTS KNOWINGLY PARTICIPATED IN A BREACH OF FIDUCIARY DUTY

         We return again to the March 21 Letter—a document which Plaintiff agrees lacked any

legal effect and which Defendants never attempted to enforce, but which Plaintiff nevertheless

claims irretrievably torpedoed his efforts to acquire the Aerial Camera Business. (See, e.g.,

Response at 37). Here Plaintiff stacks another claim atop the March 21 Letter, this time in an

effort to hold Defendants responsible for a decision that Plaintiff’s business partner (PNC) made

and with which Plaintiff disagreed.       Plaintiff purports to offer facts raising a “reasonable

inference” that Defendants “encouraged and induced PNC to execute the [March 21 Letter] in an

attempt to deprive Plaintiff of his rights under the Exclusivity Provision.” (Response at 45). But

in response to Defendants’ evidence demonstrating that Outdoor did not intend to omit Plaintiff’s

signature from the March 21 Letter and that KSE was not involved in the Letter in any way

(Brief at 12–13), Plaintiff offers only conclusory assertions lacking any evidentiary support.

         Defendants have provided substantial record evidence, including the deposition testimony

of the Outdoor personnel involved in preparing and signing the March 21 Letter, that Outdoor

did not intentionally exclude Plaintiff from the Letter and that Outdoor attempted to fix the error

upon realizing the mistake. (Brief at 41–42). In response, Plaintiff claims without citing any

evidence in record that Outdoor “elected to intentionally omit [Plaintiff] from the Term Sheet.”9

(Response at 45–46).

         But Plaintiff’s bare assertion that Outdoor’s conduct was intentional is insufficient to

create a triable issue of fact. Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992) (“Mere


9   Defendants presume that Plaintiff means to refer to the March 21 Letter here.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                                22
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                  Page 27 of 31 PageID 9536


conclusory allegations are not competent summary judgment evidence, and they are therefore

insufficient to defeat or support a motion for summary judgment.”). This is not a situation in

which the Court must weigh the credibility of witnesses offering conflicting testimony. Plaintiff

has no personal knowledge of Outdoor’s intent on this issue and his statements to that end are

merely self-serving, conclusory allegations. So they fail to create a triable issue of fact. See

Kern v. Taser Int’l, Inc., Civil Action No. 4:07-CV-320-Y, 2008 WL 11429558, at *2 (N.D. Tex.

Nov. 5, 2008) (holding that the burden of the non-moving party “is not satisfied by creating some

metaphysical doubt as to the material facts, by conclusory allegations, unsubstantiated assertions,

or by only a scintilla of evidence”).

       As previously discussed at length, Plaintiff’s “evidence” of KSE’s involvement in the

March 21 Letter is even more threadbare. Defendants already have demonstrated that Plaintiff

lacks any evidence on which a jury reasonably could conclude that KSE played any role in the

March 21 Letter.      Accordingly, Plaintiff lacks any evidence that either KSE or Outdoor

knowingly participated in PNC’s purported breach of fiduciary duty and therefore summary

judgment must be granted to Defendants on this cause of action.

F.     PLAINTIFF FAILS TO SHOW THAT DEFENDANTS WERE “UNJUSTLY ENRICHED”
       THROUGH FRAUD, DURESS, OR THE TAKING OF AN UNDUE ADVANTAGE

       Defendants are entitled to summary judgment on Plaintiff’s purported claim of “unjust

enrichment,” which numerous Texas courts have held is not an independent cause of action.

(See Brief at 42–43).      Yet even if this claim could stand on its own, Plaintiff himself

acknowledges that he would need to prove that Defendants obtained a benefit “by fraud, duress,

or the taking of an undue advantage.” (Response at 48 (citing Mary E. Bivins Found. v.

Highland Cap. Mgmt, L.P., 451 S.W.3d 104, 111–12 (Tex. App.—Dallas 2014, no pet.)).

Plaintiff does not and cannot do so.


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               23
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                   Page 28 of 31 PageID 9537


       Plaintiff seeks to avoid summary judgment on this claim merely by repeating again that

KSE “induced” Outdoor to breach the Exclusivity provisions of the Term Sheet, and that KSE

and Outdoor together caused PNC to violate fiduciary duties it allegedly owed to Plaintiff.

Defendants already have demonstrated that these allegations lack any evidentiary basis.

Moreover, even if Plaintiff could provide evidence to support those allegations, Plaintiff fails to

explain how any of these acts rise to the level of fraud, duress, or the taking of an undue

advantage. Plaintiff makes only the conclusory, self-serving assertion that “KSE acquired the

Aerial Camera Business by the taking of an undue advantage.” Plaintiff does not attempt to

explain how KSE took an “undue advantage” or whom KSE took “undue advantage” of. For

these reasons, Plaintiff’s unjust enrichment claim fails as a matter of law.

G.     PLAINTIFF LACKS SUFFICIENT EVIDENCE TO SUSTAIN HIS CIVIL CONSPIRACY CLAIM

       Defendants are entitled to summary judgment on Plaintiff’s civil conspiracy claim

because an essential element of a civil conspiracy claim is proof that the defendants engaged in

one or more unlawful overt acts. Davis-Lynch, Inc. v. Moreno, 667 F.3d 539, 553 (5th Cir.

2012). As the foregoing sections of this Reply and Defendants’ Brief in support of their Motion

demonstrate, Outdoor and KSE did not engage in any unlawful activity. Because Defendants are

entitled to summary judgment on Plaintiff’s other claims, summary judgment as to Plaintiff’s

civil conspiracy claim must follow.

       Alternatively, Plaintiff’s civil conspiracy claim fails because Plaintiff has no evidence of

an agreement or “meeting of the minds” among Outdoor, KSE, and PNC. Plaintiff concedes that

he has no direct evidence of such an agreement and purports to rely on “circumstantial

evidence.” (Response at 49–50). But Plaintiff fails to come forward with even circumstantial

evidence of an agreement among Defendants and PNC “to deprive Plaintiff of his rights.” He

has no proof that KSE and PNC ever communicated (they did not), and as discussed above, his

Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                               24
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                Page 29 of 31 PageID 9538


claim that Outdoor and PNC purposely conspired to harm Plaintiff by executing the March 21

Letter is baseless speculation at best. See supra Section E. Such “evidence” is insufficient to

avoid summary judgment on this claim. See Hunn v. Dan Wilson Homes, Inc., Civil Action No.

5:12-CV-081-C, 2013 WL 12128677, at *11–12 (N.D. Tex. Sept. 23, 2013) (“mere speculation”

as to a “meeting of the minds” between alleged conspirators insufficient to avoid summary

judgment).

                                    III.   CONCLUSION

       For the foregoing reasons, as well as those stated in Defendants’ Motion For Summary

Judgment and Brief in support thereof, Defendants respectfully request that the Court grant their

Motion For Summary Judgment in its entirety.10




10 Defendants also seek judgment on Plaintiff’s disgorgement theory of damages on the grounds
that disgorgement is not a valid theory of damages under any of Plaintiff’s claims, even if
meritorious, and because Plaintiff failed to provide adequate notice of this damages theory. (See
Brief at 45–49). Plaintiff does not respond to these arguments or even mention disgorgement
anywhere in his Response. Accordingly, the Court should deem Plaintiff’s disgorgement theory
as abandoned or waived and grant summary judgment to Defendants on this issue. See Cano v.
State Farm Lloyds, 276 F. Supp. 3d 620 (N.D. Tex. 2017) (granting summary judgment to
defendants as to claims plaintiffs failed to address in their opposition to defendants’ motion).
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                             25
Case 3:15-cv-00666-M Document 266 Filed 12/17/18        Page 30 of 31 PageID 9539


Respectfully submitted,

Date: December 17, 2018                By:   s/Kevin D. Evans
                                             Kevin D. Evans
                                             Admitted pro hac vice
                                             Nicholas W. Dowd
                                             Admitted pro hac vice
                                             ARMSTRONG TEASDALE LLP
                                             4643 South Ulster Street, Suite 800
                                             Denver, CO 80237
                                             Telephone: 720.200.0676
                                             Facsimile: 720.200.0679
                                             Email: kdevans@armstrongteasdale.com
                                                     ndowd@armstrongteasdale.com

                                             and

                                             Paul C. Watler
                                             State Bar No. 00784334
                                             Shannon Zmud Teicher
                                             State Bar No. 24047169
                                             J ACKSON WALKER L.L.P.
                                             2323 Ross Avenue, Suite 600
                                             Dallas, Texas 75201
                                             Telephone: 214.953.6000
                                             Facsimile: 214.953.5822
                                             Email: pwatler@jw.com
                                                     steicher@jw.com

                                             Attorneys for Defendants KROENKE SPORTS
                                             & ENTERTAINMENT, LLC and
                                             OUTDOOR CHANNEL HOLDINGS, INC.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                   26
Case 3:15-cv-00666-M Document 266 Filed 12/17/18                Page 31 of 31 PageID 9540


                               CERTIFICATE OF SERVICE

        This is to certify that on this 17th day of December, 2018, I caused the foregoing
DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
CHANNEL HOLDINGS, INC.’S REPLY IN SUPPORT OF THEIR MOTION FOR
SUMMARY JUDGMENT to be electronically submitted with the Clerk of Court for the U.S.
District Court, Northern District of Texas, using the electronic case filing system of the Court.



                                                           /s/Kevin D. Evans
                                                           Kevin D. Evans




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.’s Reply In Support Of
Their Motion For Summary Judgment                                                             27
